Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 1 of 34 PageID #: 640




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION


   CHAMBLESS ENTERPRISES LLC; and                     Case No. 3:20-cv-01455-TAD-KLH
   APARTMENT ASSOCIATION OF
   LOUISIANA, INC.,
                          Plaintiffs,
                                                      JUDGE TERRY A. DOUGHTY
                         v.
                                                      MAGISTRATE JUDGE
   CENTERS FOR DISEASE CONTROL                        KAYLA D. McCLUSKY
   AND PREVENTION; ROBERT R.
   REDFIELD, in his official capacity as
   Director, Centers for Disease Control and
   Prevention; NINA B. WITKOFSKY, in her
   official capacity as Acting Chief of Staff,
   Centers for Disease Control and Prevention;
   ALEX AZAR, in his official capacity as
   Secretary of Health and Human Services;
   DEPARTMENT OF HEALTH AND
   HUMAN SERVICES; WILLIAM P. BARR,
   in his official capacity as Attorney General of
   the United States,
                          Defendants.


                 PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Plaintiffs submit this Notice of Supplemental Authority to inform the Court of the decision

  by the United States District Court for the Northern District of Ohio in Skyworks Ltd. v. Centers

  for Disease Control and Prevention, No. 5:20-cv-02407-JPC (Mar. 10, 2021), attached hereto as

  Exhibit 1. The Northern District of Ohio’s decision concludes that the Centers for Disease Control

  and Prevention (CDC) lacks statutory authority to impose a nationwide eviction moratorium.

         “The most natural and logical reading of the statute as a whole does not extend the CDC’s

  power as far as Defendants maintain. Such a broad reading of the statute, and the term ‘other

  measures’ in particular, would authorize action with few, if any, limits—tantamount to creating a
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 2 of 34 PageID #: 641




  general police power. It would also implicate serious constitutional concerns . . . . But the text does

  not authorize such boundless action or depend on the judgment of the Director of the CDC or other

  experts for its limits. The eviction moratorium in the CDC’s orders exceeds the statutory authority

  Congress gave the agency.” Id. at 23.

         The Northern District of Ohio joins now with the Eastern District of Texas in setting aside

  and vacating CDC’s Temporary Halt in Residential Evictions to Prevent the Further Spread of

  COVID-19, 85 Fed. Reg. 55,292 (Sept. 4, 2020). See Terkel v. Centers for Disease Control and

  Prevention, No. 6:20-cv-00564 (Feb. 25, 2021).

         DATED: March 11, 2021.

                                                            Respectfully submitted,
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                                         Attorneys for Plaintiffs




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Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 3 of 34 PageID #: 642




                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 11, 2021, I electronically filed the foregoing document with
  the Clerk of the Court via the CM/ECF system, which will cause a copy to be served upon counsel
  of record.

                                               By /s/ STEVEN M. SIMPSON
                                                      STEVEN M. SIMPSON




                                                  3
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 4 of 34 PageID #: 643

                                                                Exhibit 1 to Plaintiffs'
                                                                Notice of Supplemental
                                                                Authority
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 5 of 34 PageID #: 644
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 6 of 34 PageID #: 645
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 7 of 34 PageID #: 646
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 8 of 34 PageID #: 647
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 9 of 34 PageID #: 648
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 10 of 34 PageID #: 649
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 11 of 34 PageID #: 650
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 12 of 34 PageID #: 651
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 13 of 34 PageID #: 652
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 14 of 34 PageID #: 653
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 15 of 34 PageID #: 654
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 16 of 34 PageID #: 655
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 17 of 34 PageID #: 656
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 18 of 34 PageID #: 657
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 19 of 34 PageID #: 658
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 20 of 34 PageID #: 659
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 21 of 34 PageID #: 660
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 22 of 34 PageID #: 661
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 23 of 34 PageID #: 662
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 24 of 34 PageID #: 663
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 25 of 34 PageID #: 664
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 26 of 34 PageID #: 665
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 27 of 34 PageID #: 666
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 28 of 34 PageID #: 667
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 29 of 34 PageID #: 668
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 30 of 34 PageID #: 669
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 31 of 34 PageID #: 670
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 32 of 34 PageID #: 671
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 33 of 34 PageID #: 672
Case 3:20-cv-01455-TAD-KDM Document 50 Filed 03/11/21 Page 34 of 34 PageID #: 673
